MEMO ENDORSED
                                DAVID H. RELKIN
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                                              June 21, 2019

   VIA ECF

   Hon. Katherine Polk Failla
   United States District Judge
   Thurgood Marshall Courthouse
   40 Foley Square, Courtroom 618
   New York, New York 10007

          Re:     Winter Investors, LLC, et al. v. Panzer, et al. 14-CV-6852 (KPF)(SDA)

   Hon. Judge Failla:

           I am incoming counsel for Winter Investors, LLC and I am writing this letter on behalf of
   Winter and co-plaintiff Jacob Frydman concerning Your Honor’s request that the parties submit a
   Joint Status update letter regarding next steps on or before June 24, 2019 (Letter June 7, 2019,
   docket #132). (I was substituted as counsel for Winter Investors, LLC on June 17, 2019, and am in
   no position to submit the update letter Your Honor has requested.)

           In addition, Your Honor’s Order of June 10, 2019 (docket #135) referred the parties to
   contact the Chambers of Magistrate Judge Stewart D. Aaron regarding an Inquest as to damages.

          In furtherance of Your Honor’s direction that the parties confer and agree regarding the
   scheduling of these matters, on June 18, 2019 (docket #143), I wrote to Mr. Gulko (counsel for Eve,
   LLC), Mr. Solomon Mayer (pro se), and Mr. Eli Verschleiser (pro se) (by email and ECF), the
   remaining defendants not in default, regarding the scheduling of a Joint Status letter to Your Honor
   and/or the scheduling of a Conference and Inquest before the Magistrate.

          Mr. Gulko responded that he will be out of his office from July 3 to July 10, 2019, and Mr.
   Verschleiser responded that he will be out of the Country in Israel from July 15 to August 12, 2019.

           Accordingly, I respectfully request the date to submit a Joint Status letter to Your Honor or
   to hold a Conference before the Magistrate be adjourned to August 21, 2019. This is my first request
   for an extension and the defendants appearing (who are not in default) have raised no other issues
   with these dates.
  Hon. Judge Failla
  June 21, 2019
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         In addition, the Inquest involves complex issues and considerable damages. I need a
  reasonable amount of time to review the file and prepare.

          Based on the foregoing, I respectfully request that Your Honor assent to this schedule and
  that the Status Letter be adjourned to August 21, 2019, or to refer these matters to the Magistrate
  for scheduling, supervision and the Inquest.

         Thank you for Your attention to this matter.


                                        Respectfully submitted,

                                         s/David H. Relkin
                                            David H. Relkin


 Via ECF and Email:
 'Asher Gulko' <Asher@gulkoschwed.com>; 'Solomon Mayer' <sm5008@outlook.com>; Eli
 Verschleiser <eli.v@eliv.com>; Jacob Frydman (by email)




Application GRANTED. The parties shall submit a joint status
update letter on or before August 21, 2019. The parties shall
also advise the Court at that time whether they wish to pursue an
inquest as to damages.



Dated: June 24, 2019                                     SO ORDERED.
       New York, New York




                                                         HON. KATHERINE POLK FAILLA
                                                         UNITED STATES DISTRICT JUDGE




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